             Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 1 of 14 PAGEID #: 52

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Southern District
                                                    __________       of Ohio
                                                                District of __________

 Hunter Doster, Joe Dills, Jason Anderson, McKenna                   )
  Colantonio, Paul Clement, Benjamin Leiby, Brett                    )
  Martin, Connor McCormick, Heidi Mosher, Peter                      )
           Norris, Patrick Pottinger, et. al.                        )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 1:22-cv-84
                                                                     )
    Hon. Frank Kendall, LTG Robert Miller, LTG                       )
  Marshall Webb, LTG Richard Scobee, LTG James                       )
        Slife, and United States of America                          )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Hon. Frank Kendall
                                           1670 Air Force Pentagon
                                           Washington, DC 20310-1670




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Christopher Wiest
                                           25 Town Center Blvd, Ste. 104
                                           Crestview Hills, KY 41017




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date: 2/16/2022
                                                                                         Signature of Clerk or Deputy Clerk
               Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 2 of 14 PAGEID #: 53

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:22-cv-84

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    Frank Kendall
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                              ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                              ; or

           u I returned the summons unexecuted because                                                                               ; or

           u Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                   for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                         Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
             Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 3 of 14 PAGEID #: 54

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                   Southern District
                                                    __________       of Ohio
                                                                District of __________

 Hunter Doster, Joe Dills, Jason Anderson, McKenna                     )
  Colantonio, Paul Clement, Benjamin Leiby, Brett                      )
  Martin, Connor McCormick, Heidi Mosher, Peter                        )
           Norris, Patrick Pottinger, et. al.                          )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 1:22-cv-84
                                                                       )
    Hon. Frank Kendall, LTG Robert Miller, LTG                         )
  Marshall Webb, LTG Richard Scobee, LTG James                         )
        Slife, and United States of America                            )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Lt. General ROBERT I. MILLER
                                           1780 Air Force Pentagon
                                           Falls Church, VA 22041




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Christopher Wiest
                                           25 Town Center Blvd, Ste. 104
                                           Crestview Hills, KY 41017




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:     2/16/2022
                                                                                           Signature of Clerk or Deputy Clerk
               Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 4 of 14 PAGEID #: 55

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:22-cv-84

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    LTG Robert Miller
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
             Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 5 of 14 PAGEID #: 56

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Southern District
                                                    __________       of Ohio
                                                                District of __________

 Hunter Doster, Joe Dills, Jason Anderson, McKenna                   )
  Colantonio, Paul Clement, Benjamin Leiby, Brett                    )
  Martin, Connor McCormick, Heidi Mosher, Peter                      )
           Norris, Patrick Pottinger, et. al.                        )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 1:22-cv-84
                                                                     )
    Hon. Frank Kendall, LTG Robert Miller, LTG                       )
  Marshall Webb, LTG Richard Scobee, LTG James                       )
        Slife, and United States of America                          )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Lt. General MARSHALL B. WEBB
                                           1 F Street, Suite 1
                                           JSBA Randolph, TX 78150-4324




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Christopher Wiest
                                           25 Town Center Blvd, Ste. 104
                                           Crestview Hills, KY 41017




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:     2/16/2022
                                                                                         Signature of Clerk or Deputy Clerk
               Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 6 of 14 PAGEID #: 57

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.
                        1:22-cv-84
                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    LTG Marshall Webb
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
             Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 7 of 14 PAGEID #: 58

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Southern District
                                                    __________       of Ohio
                                                                District of __________

 Hunter Doster, Joe Dills, Jason Anderson, McKenna                   )
  Colantonio, Paul Clement, Benjamin Leiby, Brett                    )
  Martin, Connor McCormick, Heidi Mosher, Peter                      )
           Norris, Patrick Pottinger, et. al.                        )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:22-cv-84
                                                                     )
    Hon. Frank Kendall, LTG Robert Miller, LTG                       )
  Marshall Webb, LTG Richard Scobee, LTG James                       )
        Slife, and United States of America                          )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Lt. General RICHARD W. SCOBEE
                                           555 Robins Parkway, Ste. 250
                                           Robins Air Force Base, GA 31098




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Christopher Wiest
                                           25 Town Center Blvd, Ste. 104
                                           Crestview Hills, KY 41017




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
          2/16/2022
                                                                                         Signature of Clerk or Deputy Clerk
               Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 8 of 14 PAGEID #: 59

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.
                        1:22-cv-84
                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    LTG Richard Scobee
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
             Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 9 of 14 PAGEID #: 60

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                    Southern District
                                                     __________       of Ohio
                                                                 District of __________

 Hunter Doster, Joe Dills, Jason Anderson, McKenna                      )
  Colantonio, Paul Clement, Benjamin Leiby, Brett                       )
  Martin, Connor McCormick, Heidi Mosher, Peter                         )
           Norris, Patrick Pottinger, et. al.                           )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No. 1:22-cv-84
                                                                        )
    Hon. Frank Kendall, LTG Robert Miller, LTG                          )
  Marshall Webb, LTG Richard Scobee, LTG James                          )
        Slife, and United States of America                             )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Lt. General JAMES C. SLIFE
                                           100 Bartley St, Ste. 301
                                           Hulburt Field, FL 32544




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Christopher Wiest
                                           25 Town Center Blvd, Ste. 104
                                           Crestview Hills, KY 41017




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:     2/16/2022
                                                                                             Signature of Clerk or Deputy Clerk
              Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 10 of 14 PAGEID #: 61

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.
                        1:22-cv-84
                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    LTG James Slife
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
             Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 11 of 14 PAGEID #: 62

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                   Southern District
                                                    __________       of Ohio
                                                                District of __________

 Hunter Doster, Joe Dills, Jason Anderson, McKenna                   )
  Colantonio, Paul Clement, Benjamin Leiby, Brett                    )
  Martin, Connor McCormick, Heidi Mosher, Peter                      )
           Norris, Patrick Pottinger, et. al.                        )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:22-cv-84
                                                                     )
    Hon. Frank Kendall, LTG Robert Miller, LTG                       )
  Marshall Webb, LTG Richard Scobee, LTG James                       )
        Slife, and United States of America                          )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States
                                           c/o Attorney General Merick Garland
                                           U.S. Department of Justice
                                           950 Pennsylvania Avenue, NW
                                           Washington, DC 20530-0001



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Christopher Wiest
                                           25 Town Center Blvd, Ste. 104
                                           Crestview Hills, KY 41017




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:     2/16/2022
                                                                                          Signature of Clerk or Deputy Clerk
              Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 12 of 14 PAGEID #: 63

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:22-cv-84

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    United States, c/o U.S. Attorney General
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
             Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 13 of 14 PAGEID #: 64

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Southern District
                                                    __________       of Ohio
                                                                District of __________

 Hunter Doster, Joe Dills, Jason Anderson, McKenna                   )
  Colantonio, Paul Clement, Benjamin Leiby, Brett                    )
  Martin, Connor McCormick, Heidi Mosher, Peter                      )
           Norris, Patrick Pottinger, et. al.                        )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                            Civil Action No. 1:22-cv-84
                                                                     )
    Hon. Frank Kendall, LTG Robert Miller, LTG                       )
  Marshall Webb, LTG Richard Scobee, LTG James                       )
        Slife, and United States of America                          )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States
                                           c/o US Attorney, SDOH
                                           303 Marconi Boulevard, Suite 200
                                           Columbus, OH 43215




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Christopher Wiest
                                           25 Town Center Blvd, Ste. 104
                                           Crestview Hills, KY 41017




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date: 2/16/2022
                                                                                          Signature of Clerk or Deputy Clerk
              Case: 1:22-cv-00084-MWM Doc #: 5 Filed: 02/16/22 Page: 14 of 14 PAGEID #: 65

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:22-cv-84

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    United States, c/o U.S. Attorney SDOH
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
